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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA



United States of America,

      Plaintiff,
v.                                                 ORDER
                                                   Crim. No. 06‐407(3)
Travis Correll,

      Defendant.

_____________________________________________________________________

      This matter is before the Court upon the Government’s motion to dismiss

the charges against Defendant Correll in the above‐captioned case pursuant to

Rule 48 (a) of the Federal Rules of Criminal Procedure. Based on the submissions

of counsel, the record, files and proceedings herein,

      IT IS HEREBY ORDERED that the Government’s Motion to Dismiss [Doc.

No. 140] is GRANTED and the charges against Defendant Correll are dismissed.

Date: March 24, 2008




                                                   s / Michael J. Davis
                                                   Michael J. Davis
                                                   United States District Court
